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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
----------------------------------------------------------------------X
ELZBIETA GODLEWSKA, KRYSTYNA BIELAWSKA,
BARBARA HATALA, and BARBARA PILCH, on
behalf of themselves and all others similarly situated,

                                            Plaintiffs,                   ORDER
        -against-                                                         CV-03-3985 (DGT) (JMA)

HDA, HUMAN DEVELOPMENT ASSOCIATION, INC.,
d/b/a HDA, YECHILA GRUENWALD a/k/a YECHIEL
GRUENWALD individually and as Executive Director of
HDA, HUMAN DEVELOPMENT ASSOCIATION, INC.,
ZVI KESTENBAUM, MARINA VOSKOBOYNIKO,
GOLDA POKHIS a/k/a OLGA POKHIS, MARGARITA
ZILBERT, JANE DOE a/k/a “MRS. FRIEDMAN,” and
JANE DOES 1-10 and JOHN DOE 1-10, being fictitious
names, their true identities not yet known to the Plaintiffs,

                                             Defendants.
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APPEARANCES:

        Constantine Peter Kokkoris
        Abberley & Koolman
        521 Fifth Avenue
        New York, New York 10175
        Attorney for Plaintiffs

        Robert Wisniewski
        Robert Wisniewski & Assoc., P.C.
        225 Broadway, Suite 612
        New York, New York 10007
        Attorney for Plaintiffs

        David S. Greenhaus
        Jackson Lewis LLP
        58 South Service Road, Suite 40
        Melville, New York 11747
        Attorney for Defendants
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       Anne P. Edelman
       Kaufman, Schneider & Bianco, LLP
       390 North Broadway
       Jericho, New York 11753
       Attorney for Defendants

AZRACK, United States Magistrate Judge:

       On February 28, 2006, plaintiffs moved to amend their First Amended Complaint pursuant

to Rule 15(a) and Rule 21 of the Federal Rules of Civil Procedure (Dkt No. 62: First Mot. to

Am./Correct Compl. (“Motion to Amend”) (02/28/06)). By order dated March 2, 2006, the

Honorable David G. Trager, United States District Judge, referred plaintiffs’ Motion to Amend to

me for decision (Dkt No. 67: Order Referring Mot. (03/02/06)). In addition to other amendments,

plaintiffs seek (i) to substitute defendants Jane Does with the Personnel Specialists’ real names: Eva

Friedman, Irene Gadzhiyeva, Sarah Juroviesky, Ella Rashkova, Bella Slomivc, Rita Strashnov (the

“proposed defendants”); (ii) to add a new claim under the theory of third-party beneficiary to a

prevailing wage contract against existing and substituted defendants; (iii) to join the City of New

York, New York City Human Resources Administration and the Honorable Verna Eggleston as

Commission of the NYC Human Resources Administration (the “municipal defendants”) as

additional defendants; and (iv) to assert claims against the Municipal Defendants under (a) the

FLSA; (b) a theory of third-party beneficiary to a prevailing wage contract; and (c) 42 U.S.C. § 1983

for deprivation of plaintiffs’ rights, privileges and immunities. Pursuant to the Federal Rules of

Civil Procedure 15(c), plaintiffs move for all claims contained in the Second Amended Complaint

to relate back against existing and substituted parties.

       Plaintiffs and proposed municipal defendants are hereby ordered to submit letter briefs of

no more than seven pages, identifying the statute of limitations period for each claim in the First


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Amended Complaint and for the claims plaintiffs seek to add in the Second Amended Complaint.

Plaintiffs are further instructed to identify the exact date each claim began to run, as to each existing

and proposed defendant, and, where appropriate, to identify the date on which the claim expired.

The proposed municipal defendants are instructed to do the same for all claims relevant to them.

All parties must submit their letter briefs no later than Wednesday, April 19, 2006. The Court will

consider no applications for extensions of time regarding this Order.

SO ORDERED.

Dated: April 13, 2006
       Brooklyn, New York

                                                _/s/___________________________________
                                                JOAN M. AZRACK
                                                UNITED STATES MAGISTRATE JUDGE



Sent to:

        Constantine Peter Kokkoris, Esq.
        Abberley & Koolman
        521 Fifth Avenue
        New York, New York 10175
        Attorney for Plaintiffs

        Robert Wisniewski, Esq.
        Robert Wisniewski & Assoc., P.C.
        225 Broadway, Suite 612
        New York, New York 10007
        Attorney for Plaintiffs

        David S. Greenhaus, Esq.
        Jackson Lewis LLP
        58 South Service Road, Suite 40
        Melville, New York 11747
        Attorney for Defendants




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    Anne P. Edelman, Esq.
    Kaufman, Schneider & Bianco, LLP
    390 North Broadway
    Jericho, New York 11753
    Attorney for Defendants

    Georgia Pestana, Esq.
    Corporation Counsel of the City of New York
    100 Church Street
    New York, New York 10007
    Attorneys for City of New York




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